                       Case 4:14-cr-00060-KGB                  Document 75             Filed 05/05/17          Page 1 of 7
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case                                                                             FILED
                       Sheet I                                                                                         EAST~~N 9{f/r~fi_TrC::OURT
                                                                                                                                              RliAiiSAs

                                            UNITED STATES DISTRICT COURT                                                      ~AY 05 2017
                                                                                                                JAMES W~r:.dr·
                                                           Eastern District of Arkansas               By:~pK, CLERK
                                                                        )                                        DEPCLERK
              UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                    )
                                                                        )
                  GERARDO CAMPOS-GUIN                                          Case Number: 4:14-cr-00060-01 KGB
                                                                        )
                                                                        )      USM Number: 28607-009
                                                                        )
                                                                        )       JACK R. KEARNEY
                                                                        )      Defendant's Attorney
THE DEFENDANT:
liZ! pleaded guilty to count(s)        1

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)             --------··-----------·-- - - - -                                     ------------·---·------
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 21 U.S.C. § 841 (a)(1)            Possession with Intent to Distribute More than 50 grams of                 2/13/2014                   1
 and (b)(1)(A)                     Actual Methamphetamine, a Class A Felony



       The defendant is sentenced as provided in pages 2 through          __?____ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)           ---------------- - - -

D Count(s)                                               Dis       D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econonuc circumstances.

                                                                          5/4/2017
                                                                         Date of Imposition of Judgment



                                                                          k11~Ji_.__~~~----~-----
                                                                        ___
                                                                        Sign;~f      Judge




                                                                        _ISristine G. Baker, Unite~ States District Judge
                                                                         Name and Title of Judge



                                                                        nai;;~ 5' __ :lO_fJ__________ ----------
                      Case 4:14-cr-00060-KGB              Document 75             Filed 05/05/17        Page 2 of 7
AO 2458 (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                  Judgment -          2_ of
                                                                                                               Page _ _       7
DEFENDANT: GERARDO CAMPOS-GUIN
CASE NUMBER: 4:14-cr-00060-01 KGB

                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
108 months.




     ~ The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant participate in educational and vocational programs during incarceration.




     ~   The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
         D at                                    D a.m.     D p.m.      on

         D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D before 2 p.m. on
         D as notified by the United States Marshal.
         D as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                       to

a        --------------~ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                       By----
                                                                                           DEPUTY UNITED STATES MARSHAL
                      Case 4:14-cr-00060-KGB                Document 75           Filed 05/05/17          Page 3 of 7
AO 2458 (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                        Judgment-Page     3    of   ___7___
DEFENDANT: GERARDO CAMPOS-GUIN
CASE NUMBER: 4:14-cr-00060-01 KGB
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:         5 years.



                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    i!1' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page
DEFENDANT: GERARDO CAMPOS-GUIN
CASE NUMBER: 4:14-cr-00060-01 KGB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.                                                                         ·
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature
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AO 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 30 - Supervised Release
                                                                                             Judgment-Page   _5_ of        _7_~
DEFENDANT: GERARDO CAMPOS-GUIN
CASE NUMBER: 4:14-cr-00060-01 KGB

                                        SPECIAL CONDITIONS OF SUPERVISION
 If the defendant is deported, a special condition is imposed where he will not be allowed to return to the United States
 during the period of his supervised release. If he does return, it will be considered a violation of his supervised release.
                       Case 4:14-cr-00060-KGB                       Document 75                   Filed 05/05/17        Page 6 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment - Page     6   of     7
 DEFENDANT: GERARDO CAMPOS-GUIN
 CASE NUMBER: 4:14-cr-00060-01 KGB
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                     JVTA Assessment*                       Fine                       Restitution
TOTALS             $ 100.00                     $ 0.00                                   $ 0.00                     $ 0.00



 D The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P,a)'lllent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{1), all nonfederal victims must be paid
     before the United States is paid.

  Name of Payee                                                                        Total Loss**     Restitution Ordered Priority or Percentage




TOTALS                                                                         $                   o.oo s____~o=.o~o

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D    the interest requirement is waived for the           D       fine       D    restitution.

      D    the interest requirement for the        D     fine       D     restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                       Case 4:14-cr-00060-KGB                 Document 75            Filed 05/05/17           Page 7 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6- Schedule of Payments
                                                                                                          Judgment - Page - -7- - of        7 ---
                                                                                                                                         ----
 DEFENDANT: GERARDO CAMPOS-GUIN
 CASE NUMBER: 4:14-cr-00060-01 KGB

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~     Lump sum payment of$          100.00             due immediately, balance due

            D     not later than                                 , or
            D     in accordance with D       C,    D    D,   D    E, or     D F below; or

B     D     Payment to begin immediately (may be combined with            DC,         DD, or      D F below); or

C     D     Payment in equal
                         ________ (e.g., weekly, monthly, quarterly) installments of $ _________ over a period of
          ______ (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence         _____ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) commuruty restitution, (7) JVTA assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
